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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )         4:09CR3134
                                               )
                    Plaintiff,                 )
                                               )
       vs.                                     )
                                               )         ORDER
KORINA KUCERA,                                 )
                                               )
                    Defendant.                 )


       IT IS ORDERED that:

       (1)   The defendant’s unopposed motion to continue sentencing (filing 88) is
granted.

       (2)    Defendant Kucera’s sentencing is continued to Wednesday, July 21, 2010, at
1:30 p.m., before the undersigned United States district judge, in Courtroom No. 1, United
States Courthouse and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska. The
defendant shall be present unless excused by the court.

       Dated July 6, 2010.

                                            BY THE COURT:

                                            Richard G. Kopf
                                            United States District Judge
